Case 2:08-cr-00327-SRC                 Document 305          Filed 08/11/09         Page 1 of 3 PageID: 1322




                                         ONITED STATES DISTRICT COURT
                                            DtSTiCT OF NEW JERSEY




        t3njted States of America
                                                                     Criminal Action
                                                                     2:0-ci- (SDW)
                   Plaintiff

        V.

                                                                    ORDER RE
        Andrew Merola
                                                                    EAIIi CONDITIONS

                  Defendant.




                  The    Court      having      considered         the    respective      positions       of
       counsel           and     the    United      States    Attorneys            Office      having    no
       objection to the                relief     requested herein and Pretrial                 Services
       having approved this request and
                                        for good cause shown

                  It is on this           day of August 2009

               ORDERE1 AND ADJUDGED as follows;

             1.     On     his      return      from   the     wrestling          camp    in    Carlisle
       Pennsylvania            on   August      8   2009     Mr.     Merola       may    accompany      his
      children           to     a      birthday     party     in         Hersey    Pennsylvania          in
      accordance with a schedule set by Pre
                                            trial Services and subject

      to GPS monitoring.

             2. A copy of this Order shall be serve
                                                    d on Pretrial
Case 2:08-cr-00327-SRC     Document 305   Filed 08/11/09   Page 2 of 3 PageID: 1323




                                                 Stanley R. Chesler
                                          ted States District Court

                                             Order.
      We hereby consent to the entry of this


      Sa2.v&tore T. Alfano
      Attorney for Axldrew Merola


      P.ona1d Wigler
      Assistant tnited
      States ILttorrley


       Robert Cord.ier;
       Unite states
       Pretrial Services




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                                                                          TOTAL P.003
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        Services and the United States Attorney’s
                                                  office




                                       Honorable Stanley R. Chesler
                                       United States Dis&jct. Court
                                       Judge
        We hereby consent to the entry
                                        of this Order.


       Salvatore T. Alfano
       Attorney fr Andrew 4erola


     onald Wigler
    Assistant United
   sAorney


       Ro1ert Cordiero
       United States
       Pretrial Services




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                                                                            TOThL P.003
